Case 1:19-cv-02070-JDB Document 20-25 Filed 09/02/21 Page 1of1

Dec/30/2eo |
Page BoZ

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Azadeh Pourzand

Tell Me, Where Is My Father?

An open letter to His Excellency Seyed
Mohammad Khatami, president of the Is-
lamic Republic of Iran.

Dear Mr. President:

I am a 17-year-old Iranian girl. My in-
troduction to politics came through hearing
your televised campaign interview when |
was 12. On Election Day, I accompanied my
parents to vote. Full of hope and great ex-
pectations, we drove across town while my
father told us stories about the past and my
mother looked at the gathering crowds in
the street with her writer’s eyes. My sister
boasted that she was old enough to vote, and
I felt like becoming a political activist but
had to struggle with my birthdate.

When I was a year old, my father was im-
prisoned for the first time. He was not a
thief, he was not a smuggler, he had commit-
ted no crime. Like so many other law-
abiding Iranians, he became a prisoner who
had no idea why he was in prison.

When I was 6 he was hauled off to prison a
second time. I remember banging my white
child’s shoes against the wall and shouting,

“Don’t tell me my father is traveling. He is in
Evin Prison. Don’t tell me about his room,
he is in a solitary cell.” Once again he was
freed—a thin, tired, quiet man. Once a vi-
brant, gregarious talker, he had turned into
a passive and indifferent listener.

I was 15 when my mother, Mehrangiz
Kar, a lawyer and women’s rights activist,
was imprisoned. A few months earlier, my
sister, Leily, had hurriedly left the country,
leaving all her hopes and dreams in Iran.
Government agents, or those who pretend-
ed to be government agents, had driven
sleep from her eyes and peace from her
heart.

So it was that my father and I were left
alone to keep each other company. Family
and friends spoke of me as a strong young
woman. Only the walls in my room shared
my fear and frustration as I sobbed un-
controllably and banged them with my fists.

When my mother was finally released, I
still wanted to see your smiling face and
hear your words on government television,
Mr. President—no matter that it was the

Same government television that had so
recklessly distorted my mother’s statements
and slandered and insulted her.

Not long after she had secured her release
from prison by posting back-breaking bail,
my mother was diagnosed with cancer. I was
16 and could hardly wait now that I could
vote for your election to a second term. Cast-
ing a ballot for the first time in my life was a
thrill. I carefully wrote “Seyed Mohammad
Khatami” and became an adult. Iam now ac-
companying my mother, who has traveled
abroad to seek treatment for her illness.

A month ago we heard the news of my fa-
ther’s disappearance. Mr. President, my fa-
ther, Siamak Pourzand, born Nov. 24, 1931,
was taken by unknown agents as he was see-
ing off some guests at his sister’s house. He
has not been heard from since. The last time
my mother and I spoke with him, he told us
that he was being followed by men on motor-
cycles and that he was in danger. We hadn't
known what to do to help, and we feel help-

less now.

My mother sits in a corner quietly and

waits for the phone to ring. I know well that
a cancer patient has no hope of survival if
she is tense and agitated. I don’t know what
to do for either of my parents.

This morning I woke up terrified. I had
dreamed that an interrogator had slashed
my father’s neck, and ] was running around
hysterically trying to find a way to keep him
alive. He called me back to him saying, “It is
no use, stay with me for a few more mo-
ments.”

The road to Evin Prison has a sharp turn
called “the repentance curve.” If I ever pass
that road, I will repent crimes that Ihave not
committed so that I will not be taken in in-
nocent and come out guilty. My only request ©
of you, Mr. President, and fortunately you
are still president, is to make an inquiry
about my 70-year-old father’s physical and
psychological health and let me know how '
he is and where he is being held. I impatient- “
ly await a reply from your office.

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